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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
SERGIO BONILLA, on behalf of himself and
all others similarly situated,
                                                    Case Nos:   1:21-cv-00051
                               Plaintiff,                       1:21-cv-00610

v.

PEOPLECONNECT, INC., a Delaware                     JURY TRIAL DEMANDED
Corporation,
                               Defendant.

THERESA LOENDORF, individually and on
behalf of all others similarly situated,

                               Plaintiff,

       v.

PEOPLECONNECT, INC., a Delaware
Corporation,

                               Defendant.


                  MOTION FOR REASSIGNMENT OF RELATED CASE1

       Plaintiffs SERGIO BONILLA and THERESA LOENDORF (“Plaintiffs”), pursuant to

N.D. Ill. Loc. R. 40.4, move for reassignment of the related case Mackey v. PeopleConnect, Inc.

et al, Case No. 1:22-cv-00342 (N.D. Ill., Judge Robert W. Gettleman), to the case at bar pending

before this Court, and in support thereof, state as follows:




1
 Plaintiffs have not noticed this motion for presentment per Amended General Order 21-0027
but will promptly do so at the Court’s request. See U.S. Dist. Ct. N.D. Ill. Amended General
Order 21-0007 (Dec. 20, 2021), at ¶ 2.
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I.     PERTINENT RELATED FACTS, THEORIES, AND EVIDENCE SUPPORT A
       FINDING OF RELATEDNESS AND REASSIGNMENT

       1.      The present case and Mackey v. PeopleConnect, Inc. involve individual and class-

wide claims against the same defendant website based on the same conduct. Like plaintiffs

Bonilla and Loendorf, Mr. Mackey alleges that Classmates.com, a website owned and operated

by PeopleConnect, Inc., violated his intellectual property and privacy rights protected by

extracting his name and likeness as a child from a school yearbook and using his identity to sell

website subscriptions.

       2.      Mackey involves the same defendant, the same alleged acts and omissions, the

same property and privacy rights, and legal claims under the same Illinois laws.

       3.      Deeming the two cases related would result in a substantial saving of judicial

resources. One judge, rather than two, would become well-versed in the legal and factual issues

in these cases. Moreover, discovery and evidentiary rulings would be consistent, and motion

practice would be made more efficient.

       4.      For these reasons and the additional reasons laid out below, Plaintiffs respectfully

request this Court enter an Order declaring Mackey v. PeopleConnect, Inc. related to the present

matter, and reassigning Mackey v. PeopleConnect, Inc. to the Honorable Virginia M. Kendall.

       5.      On January 5, 2021, Plaintiff Sergio Bonilla filed case No. 1:21-cv-00051 against

PeopleConnect. (Dkt. No. 1.) On February 2, 2021, Plaintiff Theresa Loendorf filed case

No. 1:21-cv-00610 against PeopleConnect. (Dkt. No. 1.) On March 3, 2021, Defendant

PeopleConnect, Inc. moved to reassign Loendorf to this Court and consolidate Loendorf with

Bonilla. (Dkt. No. 13.) On March 12, the Court granted PeopleConnect’s motion. (Dkt. No. 15.)

       6.      On April 20, 2021, Plaintiffs Bonilla and Loendorf filed a consolidated amended

class action Complaint (“CAC”). (Dkt. No. 37.) The CAC alleges four causes of action including


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a claim under Illinois’ Right of Publicity Act, 765 ILCS 1075/1 et seq. (“IRPA”). Plaintiffs’

claims are based on Classmates.com’s alleged commercial misuse of their photographs, names,

and additional personal information, which PeopleConnect misappropriated from their high

school yearbooks.

        7.     Subsequently, on January 20, 2022, Plaintiff Scott Mackey filed a complaint

against PeopleConnect. No. 22-cv-00342 (Dkt. No. 1, attached hereto as Exhibit A). Like the

CAC, Mr. Mackey’s complaint alleges a cause of action under IRPA. Like those of Mr. Bonilla

and Ms. Loendorf, Mr. Mackey’s claims are based on Classmates.com’s alleged commercial

misuse of his photographs, name, and additional personal information, which PeopleConnect

misappropriated from his high school yearbooks.

        8.     Reassignment of related cases is governed by N.D. Ill. Loc. R. 40.4, which

establishes a two-part inquiry. A later-filed case may be reassigned if the judge determines (1)

that the two cases are related under 40.4(a); and (2) that the conditions for reassignment of the

later-filed case are met.

II.     ALL OF THE RULE 40.4(A) CRITERIA SUPPORT RELATEDNESS

        9.     Under Rule 40.4(a), two cases “may be related if one or more of the following

conditions are met: (1) the cases involve the same property; (2) the cases involve some of the

same issues of fact or law; (3) the cases grow out of the same transaction or occurrence; or (4) in

class action suits, one or more of the classes involved in the cases is or are the same.” N.D. Ill.

Loc. R. 40.4(a) (emphasis added). Courts applying this standard have noted that the bar for

establishing relatedness is low. See Williams v. Peterson, No. 08-cv-1657 (N.D. Ill. Jan. 26,

2009) (“This Court regularly comments in response to an LR 40.4 motion . . . that the initial

hurdle of establishing ‘relatedness’ is easy to surmount.”).



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         10.    Here, all four Rule 40.4(a) factors are met. The cases involve the same property

(the names and likenesses of Illinois residents whose yearbook photos PeopleConnect uses to

advertise website subscriptions); the same issues of fact and law; the same acts and omissions by

PeopleConnect (acquiring and using Illinois residents’ yearbook photos in advertisements

without obtaining consent); and the classes are the same (current and former Illinois residents

whose names and photographs are used by Classmates.com).

         11.    Plaintiffs’ counsel are aware of only one issue of fact that differs between the

three cases. As alleged in the CAC, plaintiff Bonilla previously created an account on

Classmates.com. (Dkt. No. 37, at ¶ 26.) As alleged in the CAC and Mr. Mackey’s complaint,

neither plaintiff Loendorf nor Mr. Mackey have every used or created an account on

Classmates.com. (Dkt. No. 37, at ¶ 49; Ex. A, at ¶ 2.)

         12.    The remaining material facts alleged in the CAC and Mr. Mackey’s complaint are

substantially similar across all three named plaintiffs. (See Dkt. No. 37; Ex. A.)

III.     ALL OF THE RULE 40.4(B) CRITERIA FOR REASSIGNMENT ARE
         SATISFIED

         13.    Under Rule 40.4(b), a related later-filed case may be reassigned if “each of the

following criteria is met: (1) both cases are pending in this Court; (2) the handling of both cases

by the same judge is likely to result in a substantial saving of judicial time and effort; (3) the

earlier case has not progressed to the point where designating a later filed case as related would

be likely to delay the proceedings in the earlier case substantially; and (4) the cases are

susceptible of disposition in a single proceeding.” N.D. Ill. Loc. R. 40.4(b) (emphasis added).

Here, all four criteria are met.

         14.    First, like the present action, Mackey is pending before the Northern District of

Illinois, Eastern Division.


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       15.     Second, given the substantial overlap in issues of law and fact between the two

cases, the handling of both cases by the same judge is likely to save significant duplication in

effort at a time when judicial resources are particularly stretched. These cases implicate

relatively unique and complicated issues at the intersection of the intangible property right in

one’s identity, privacy rights, First Amendment law, copyright, and the regulation of online

content. Plaintiff proposes that judicial economy is well-served with assignment to one judge

(and one magistrate), rather than two judges (and/or magistrates), permitting one judge and that

judge’s staff to become well-versed in these issues.

       16.     Third, the present actions have not progressed to a point where reassignment

would substantially delay the proceedings. Plaintiffs Bonilla and Loendorf filed the CAC on

April 20, 2021. (Dkt. No. 37.) PeopleConnect filed motions to dismiss and compel arbitration on

May 5, 2021. (Dkt. No. 45.) PeopleConnect’s motions are still pending before the court. Pursuant

to this Court’s Order staying discovery pending a ruling on PeopleConnect’s motion to dismiss,

Dkt. No. 28, discovery has not yet begun.

       17.     Fourth, the cases are susceptible to disposition in a single proceeding.2 This Court

previously consolidated Bonilla and Loendorf at PeopleConnect’s request. (See Dkt. No. 15.)

The facts and legal claims in Mackey are substantially similar to those in Bonilla and Loendorf.




2
 A finding that two cases are “susceptible” of disposition in a single proceeding, does not
commit the Court to in fact dispose of both cases in a single proceeding. See, e.g., Urban 8 Fox
Lake Corp. v. Nationwide Affordable Hous. Fund 4, LLC, No. 18-cv-6109 (N.D. Ill. June 18,
2019) (“Plaintiffs need only show that the two actions are susceptible to be disposed of together,
not that they will be.”).
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        18.    Because all four criteria in Rule 40.4(b) are met, this Court may reassign the later-

filed case.

                                         CONCLUSION

        For the reasons above, Plaintiff respectfully requests entry of an Order (1) finding the

cases sub judice and Mackey v. PeopleConnect, Inc., No. 1:21-cv-00342, are related, and (2)

reassigning Mackey to the Honorable Virginia M. Kendall.

                                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I, Raina C. Borrelli, certify that on January 21, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notice of

electronic filing to all counsel of record.

                                                   /s/ Raina C. Borrelli
                                                   Raina C. Borrelli




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